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                         UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN
 In re:
           Palace Theater, LLC                                     Case No. 21-11714
                                                                      Chapter 11
                                           Debtor.

      NOTICE AND APPLICATION FOR EMPLOYMENT OF COUNSEL TO THE
                               DEBTOR

   Palace Theater, LLC, the Debtor and Debtor-in-Possession in this case (hereinafter “Debtor”),

hereby requests entry of an order authorizing it to employ the law firm Steinhilber Swanson LLP

as its general bankruptcy counsel in this case. In support of this Application, the Debtor

respectfully represents as follows:

                                       Jurisdiction and Venue

   1. This Court has jurisdiction over this Application pursuant to 28 U.S.C. §§ 157 and 1334.

          Venue is proper pursuant to 28 US.C. §§ 1408 and 1409. This matter is a core proceeding

          pursuant to 28 U.S.C. § 157(b)(2)

   2. The statutory predicates for the relief sought herein are 11 U.S.C. §§ 327(a), 328 and 330,

          and Rules 2014(a) and 2016 of the Federal Rules of Bankruptcy Procedure.

                                              Background

   3. On August 16t, 2021, an Order for Relief under Chapter 11 of the Bankruptcy Code was

          entered in this case. Since that time, the Debtor has remained in possession of its property

          and is operating its business as Debtor-in-Possession, pursuant to §§ 1107(a), 1108, and

          1184 of the Bankruptcy Code.

   4. No unsecured creditors committee, trustee or examiner has been appointed in this case.




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                                        Requested Relief

   5. The Debtor desires to retain and employ Steinhilber Swanson LLP (hereinafter

      “Steinhilber”) as its counsel in the Case. The Debtor has determined that Steinhilber has

      the resources and experience necessary to represent it in this case.          Steinhilber has

      experience representing debtors and has familiarity with complex reorganization cases.

      Given the nature of this case, the Debtor believes that retention of Steinhilber is appropriate

      and necessary.

   6. By this Application, the Debtor respectfully requests that this Court enter an Order

      authorizing it to employ and retain Steinhilber as its counsel, pursuant to §§ 327(a), 328

      and 330 of the Bankruptcy Code.

                                     Scope of Employment

   7. Local Rule 2014 of the Bankruptcy Court for this district “must include a specific recitation

      of the anticipated services to be rendered together with the proposed method of calculating

      the compensation.” Steinhilber shall act as general counsel to the Debtor-in-Possession,

      which shall include performing such legal services as may be required under the

      circumstances of the case that are deemed to be in the interests of the Debtor-in-Possession

      as set forth in the Bankruptcy Code. The specific professional services that the Debtor

      expects that Steinhilber will be called upon to render include, but shall not be limited to,

      the following:

          a. preparing bankruptcy schedules and statements;

          b. assisting in preparing the plan of reorganization and attendant
             negotiations and hearings which are expected to be complex and time
             consuming given the facts of this case. Additionally, there may be
             complex negotiations for the sale of the debtor’s assets in conjunction
             with the potential sale of the operating entities given pre-petition
             interest exhibited by interested parties.



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          c. preparing and reviewing pleadings, motions and correspondence;

          d. appearing at and being involved in various proceedings before this
             Court, including without limitation prosecuting an Adversary
             Proceeding requesting relief for the debtor’s sister company, 94 North,
             LLC in the form of an injunction precluding creditors from pursuing
             this non-debtor obligor which acts as the Production Company for the
             theater.

          e. handling case administration tasks and dealing with procedural issues;

          f. assisting the Debtor-in-Possession with the commencement of DIP
             operations, including the 341 Meeting and monthly reporting
             requirements; and

          g. analyzing claims and prosecuting claim objections.

                                          Compensation

   8. Compensation will be calculated based on the work performed, billed at the hourly rates of

      the attorneys and paraprofessionals of the firm, plus reimbursement of the actual and

      necessary expenses Steinhilber incurs, in accordance with the ordinary and customary rates

      which are in effect on the date the services are rendered, including, but not limited to,

      photocopies, postage, mileage (charged at the IRS rate in effect on the date of travel),

      courier service, computer assisted research, docket and court filing fees, document retrieval

      fees, court reporting charges, and any other incidental costs advanced by the firm

      specifically for these matters, at the rates commonly charged for such costs to other

      Steinhilber clients.

   9. The hourly rates of attorneys and paraprofessionals of the firm who are expected to perform

      work on this file currently range from $140.00 - $575.00 per hour. All attorney and

      paraprofessional rates are subject to periodic increase.

   10. Based on the estimates of Counsel, total fees and costs for the Debtor’s bankruptcy counsel

      may range up to or beyond $100,000.00, however this estimate is given for informational



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      purposes only, and is not a cap on fees. The Debtor reserves the right to request that counsel

      perform necessary or appropriate services without regard to such estimate or whether such

      services are specifically listed above if such services are deemed necessary in the

      prosecution of this case.

               Steinhilber Does Not Hold or Represent Any Adverse Interest

   11. In support of this Application, Debtor submits the Affidavit of Paul G. Swanson, lead

      counsel to the Debtor, which is attached hereto as Exhibit A and is incorporated herein by

      reference.

   12. To the best of the Debtor’s knowledge, based upon the Affidavit of Paul G. Swanson,

      Steinhilber (a) does not hold or represent any interest adverse to the Debtor or its Chapter

      11 estate, its creditors, or any other party in interest and (b) is a “disinterested person” as

      that term is defined in Section 101(14) of the Bankruptcy Code. Because Steinhilber is a

      firm with offices in Oshkosh and Madison, with active representation in the Madison and

      Milwaukee area, the Debtor is aware that Steinhilber may represent, or may have

      represented, certain creditors of the Debtor’s estate or other parties-in-interest in matters

      unrelated to the Debtor or this case.

                                              Notice

   13. Pursuant to Local Rule 2014, notice of this application must be served upon the United

      States Trustee, the debtor, the debtor’s attorney, the attorney for any committee appointed

      under the Code, and any other person designated by the Court.

   14. The Debtor asserts that notice has been provided to all required parties through the filing

      of this application via the Court's CM/ECF system, and by service on the Debtor as

      specified in the attached Certificate of Service, and requests that if no objection or request




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       for hearing is filed within 14 days of the filing of this Application, that the Court grant

       the relief requested, but no such order shall be entered prior to 21 days from the Petition

       Date, pursuant to F.R.B.P. 6003.

   15. Subject to this Court’s approval of this Application, Steinhilber has indicated that it is

       willing to serve as the Debtor’s counsel in the case and to perform the services described

       above.

   WHEREFORE, the Debtor requests an Order (a) granting this Application, (b) authorizing it

to retain and employ Steinhilber Swanson LLP in this case, and (c) granting such other and further

relief as this Court may deem just and proper.

 Dated this 16th day of August, 2021.            PALACE THEATER, LLC


                                          By:          /s/ Anthony Tomaska
                                                 Anthony Tomaska, Member




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                         UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN
    In re:
             Palace Theater, LLC                                        Case No. 21-11714
                                                                           Chapter 11
                                              Debtor.

                                 EXHIBIT A
        AFFIDAVIT OF PAUL G. SWANSON PURSUANT TO F.R.B.P. 2014(a) AND IN
         SUPPORT OF APPLICATION FOR EMPLOYMENT OF COUNSEL TO THE
                                  DEBTOR

    STATE OF WISCONSIN              )
                                    )    SS
    WINNEBAGO COUNTY                )

      Paul G. Swanson, being first duly sworn, on oath deposes and says:

1. I am a member of the law firm of Steinhilber Swanson LLP. My mailing address is:

                                          Steinhilber Swanson LLP
                                             107 Church Avenue
                                             Oshkosh, WI 54901


2. I will act as lead counsel for the Debtor on this case.

3. The members of Steinhilber Swanson LLP are attorneys at law duly admitted to practice before

      this court and other necessary state and federal courts in this jurisdiction.

4. To the best of my knowledge, information and belief, this law firm, including all members and

      staff thereof, is a disinterested person within the meaning of 11 U.S.C. § 101(14) and is eligible

      to serve as counsel for the Debtor pursuant to the provisions of 11 U.S.C. § 327.

5. This firm has received $125,000.00 in retainers from the Debtor 1 for pre-petition preparation,

      analysis of reorganization, and pre-petition expenses (hereinafter the “Retainer”). Of this




1
 $25,000 was received by check drawn on the account of 94 North Productions, LLC. The Debtor credited this
$25,000 as a lease payment due from 94 North Productions, LLC to Debtor.


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   retainer, $50,018.00 was applied against pre-petition fees and costs, and $74,982.00 is held in

   trust, pending authorization by the Bankruptcy Court of post-petition fees and costs in this

   case.

6. This law firm, its members and staff, do not have any connections with the Debtor, creditors

   or any other party in interest, their respective attorneys or accountants, the United States

   Trustee or any person employed in the Office of the United States Trustee with the exception

   of the following:

           a. Paul G. Swanson and Virginia E. George serve as Chapter 7 panel trustees for the

               United States Trustee, and, therefore, are connected to that office.

           b. The attorneys of this firm have had connections with many of the attorneys in (or

               expected to appear in) this case, in other cases, but have never been co-counsel with

               them.

           c. The firm also intends to represent the interests of 94 North Productions, LLC, a

               foreign limited liability company related to the Debtor, in this proceeding. Said

               interests align with those of the Debtor and, as such, there is no conflict in

               representing both parties in this Chapter 11 case.

7. I have performed a conflicts check using our firm's client management software, and have

   identified no conflicts. I have also reviewed the list of creditors and parties in interest in this

   case and have identified no other conflicts. I am not aware of any other connections with the

   Debtor, any creditor or any other party in interest or their respective attorneys and accountants

   or the United States Trustee or any person employed in the Office of the United States Trustee

   in any way except as described in number 6, above.

8. I declare under penalty of perjury that the foregoing is true and correct.




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                                              /s/ Paul G. Swanson
                                             Paul G. Swanson
 Subscribed and sworn to before me
 this 16th day of August, 2021.

 /s/ Heather Saladin
 Heather Saladin, Notary Public
 State of Wisconsin
 My commission expires 04-21-2025




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